Case: 1:17-md-02804-DAP Doc #: 2379-8 Filed: 08/14/19 1 of 2. PageID #: 390133




                EXHIBIT 58
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